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     EXHIBIT A
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Type of Work:     Text
Registration Number / Date:
          TX0007435365 / 2011-10-20
Application Title: ALOHA FROM HELL.
Title:         ALOHA FROM HELL.
Description:     Book, 438 p.
Copyright Claimant:
          Richard Kadrey.
Date of Creation: 2011
Date of Publication:
          2011-10-01
Nation of First Publication:
          United States
Authorship on Application:
          Richard Kadrey; Domicile: United States; Citizenship:
            United States. Authorship: text.
Names:          Kadrey, Richard


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Type of Work:     Text
Registration Number / Date:
          TX0008188442 / 2016-04-12
Application Title: THE EVERYTHING BOX.
Title:         THE EVERYTHING BOX.
Description:     Book, 352 p.
Copyright Claimant:
          Richard Kadrey.
Date of Creation: 2016
Date of Publication:
          2016-04-01
Nation of First Publication:
          United States
Authorship on Application:
          Richard Kadrey; Domicile: United States; Citizenship:
            United States. Authorship: text.
Names:          Kadrey, Richard


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         Case 3:23-cv-03417-VC Document 1-1 Filed 07/07/23 Page 4 of 12




Type of Work:       Text
Registration Number / Date:
          TX0007301884 / 2011-01-05
Application Title: Kill the Dead.
Title:         Kill the Dead.
Description:      Book, 434 p.
Copyright Claimant:
          Richard Kadrey.
Date of Creation: 2010
Date of Publication:
          2010-10-01
Nation of First Publication:
          United States
Authorship on Application:
          Richard Kadrey; Domicile: United States; Citizenship:
            United States. Authorship: text.
Names:           Kadrey, Richard


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         Case 3:23-cv-03417-VC Document 1-1 Filed 07/07/23 Page 5 of 12




Type of Work:     Text
Registration Number / Date:
          TX0008315399 / 2016-07-28
Application Title: THE PERDITION SCORE.
Title:         THE PERDITION SCORE.
Description:     Book 375 p.
Copyright Claimant:
          Richard Kadrey.
Date of Creation: 2016
Date of Publication:
          2016-06-01
Nation of First Publication:
          United States
Authorship on Application:
          Richard Kadrey; Domicile: United States; Citizenship:
            United States. Authorship: text.
Names:          Kadrey, Richard


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         Case 3:23-cv-03417-VC Document 1-1 Filed 07/07/23 Page 6 of 12




Type of Work:      Text
Registration Number / Date:
          TX0007044052 / 2009-08-25
Application Title: Sandman Slim.
Title:         Sandman Slim.
Description:      Book, 388 p.
Copyright Claimant:
          Richard Kadrey.
Date of Creation: 2009
Date of Publication:
          2009-08-01
Nation of First Publication:
          United States
Authorship on Application:
          Richard Kadrey; Domicile: United States; Citizenship:
            United States. Authorship: text.
Names:          Kadrey, Richard


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Type of Work:     Text
Registration Number / Date:
          TX0008385641 / 2017-03-09
Application Title: THE WRONG DEAD GUY.
Title:         THE WRONG DEAD GUY.
Description:     Book, 420 p.
Copyright Claimant:
          Richard Kadrey.
Date of Creation: 2017
Date of Publication:
          2017-02-01
Nation of First Publication:
          United States
Authorship on Application:
          Richard Kadrey; Domicile: United States; Citizenship:
            United States. Authorship: text.
Names:          Kadrey, Richard


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Type of Work:      Text

Registration Number / Date:

          TX0007188321 / 2010-06-02

Application Title: The Bedwetter.

Title:         The Bedwetter.

Description:      Book, 240 p.

Copyright Claimant:

          Sarah Silverman.

Date of Creation: 2010

Date of Publication:

          2010-04-01

Nation of First Publication:

          United States

Authorship on Application:

          Sarah Silverman; Domicile: United States; Citizenship:

            United States. Authorship: text.

Names:          Silverman, Sarah

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Type of Work:     Text
Registration Number / Date:
          TX0008471412 / 2017-09-05
Application Title: ARARAT.
Title:         ARARAT.
Description:     Book, 305 p.
Copyright Claimant:
          CHRISTOPHER GOLDEN.
Date of Creation: 2016
Date of Publication:
          2017-03-29
Nation of First Publication:
          United States
Authorship on Application:
          CHRISTOPHER GOLDEN; Domicile: not known. Authorship: text.
Names:          GOLDEN, CHRISTOPHER


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Type of Work:     Text
Registration Number / Date:
          TX0008234899 / 2016-02-23
Application Title: DEAD RINGERS.
Title:         DEAD RINGERS.
Description:     Book, 309 p.
Copyright Claimant:
          CHRISTOPHER GOLDEN.
Date of Creation: 2014
Date of Publication:
          2015-10-15
Nation of First Publication:
          United States
Authorship on Application:
          CHRISTOPHER GOLDEN; Domicile: not known. Authorship: text.
Names:          GOLDEN, CHRISTOPHER


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Type of Work:       Text
Registration Number / Date:
          TX0008737109 / 2019-04-05
Application Title: THE PANDORA ROOM.
Title:         THE PANDORA ROOM.
Description:     Book, 307 p.
Copyright Claimant:
          Christopher Golden.
Date of Creation: 2018
Date of Publication:
          2019-04-03
Nation of First Publication:
          United States
Authorship on Application:
          Christopher Golden; Domicile: United States. Authorship:
            text.
Names:          Golden, Christopher


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Type of Work:     Text
Registration Number / Date:
          TX0007828620 / 2014-01-17
Application Title: SNOWBLIND.
Title:         SNOWBLIND.
Description:     Book, 309 p.
Copyright Claimant:
          CHRISTOPHER GOLDEN.
Date of Creation: 2013
Date of Publication:
          2014-01-02
Nation of First Publication:
          United States
Authorship on Application:
          CHRISTOPHER GOLDEN. Authorship: text.
Names:          GOLDEN, CHRISTOPHER


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